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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §   CRIMINAL NO. 4:05CR173 RAS/DDB
                                                   §
 BRIAN O’NEAL CLARK (12)                           §


                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 12, 2015 to determine whether Defendant violated his supervised

 release. Defendant was represented by Robert Arrambide. The Government was represented by Jay

 Combs.

        On July 20, 2006, Defendant was sentenced by the Honorable Michael Schneider, United

 States District Judge, to a sentence of 60 months imprisonment followed by a 3-year term of

 supervised release for the offense of Carrying, or Possession of a Firearm During, in Relation to, and

 in Furtherance of a Drug Trafficking Crime. Defendant began his term of supervision on October

 4, 2012. The term of supervised release was revoked on August 15, 2013, and Defendant was

 sentenced to 13 months imprisonment followed by an additional 24 month term of supervised

 release. Following his revocation, the new term of supervised release commenced on June 12, 2014.

 This case was transferred to the Honorable Marcia A. Crone on November 30, 2012.

        On June 8, 2015, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 937). The Petition asserts that Defendant violated



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 the following conditions of supervision: (1) Defendant shall refrain from any unlawful use of a

 controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia related

 to any controlled substances, except as prescribed by a physician; (3) Defendant shall report to the

 probation officer and shall submit a truthful and complete written report within the first five days

 of each month; (4) Defendant shall answer truthfully all inquiries by the probation officer and follow

 the instructions of the probation officer; (5) Defendant shall notify the probation officer at least ten

 day prior to any change in residence or employment; (6) Defendant shall participate in a program of

 testing and treatment for drug abuse, under the guidance and direction of the U.S. Probation Office,

 until such time as Defendant is released from the program by the probation officer; and (7) Under

 the guidance and direction of the U.S. Probation Office, Defendant shall participate in any

 combination of psychiatric, psychological, or mental health treatment as deemed appropriate by the

 treatment provider.

         The Petition alleges that Defendant committed the following violations: (1) On April 20,

 2015, Defendant submitted a urine specimen which tested positive for marijuana and cocaine. He

 admitted verbally and in writing that he used said substances on or about April 18, and 19, 2015; (2)

 Defendant failed to report to the U.S. Probation Office as directed on May 18, 2015. Defendant

 failed to submit a written report for the month of April 2015; (3) During an office visit on October

 6, 2014, Defendant was questioned about his employment status. He reported he continued to work

 through Employee Solutions Temporary Agency at Encore Wire, McKinney, TX. It was discovered

 on October 22, 2014, when the officer contacted Defendant’s employer that he abandoned his job

 and his last date of employment was September 26, 2014; (4) Defendant failed to notify the


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 probation office in a timely manner of change of employment. He secured employment through

 Employee Solutions Temporary Agency at Encore Wire, McKinney, TX, on June 30, 2014. He

 reported this change of employment to the probation office on July 3, 2014. Defendant abandoned

 his job at Encore Wire, McKinney, TX, on September 26, 2014. He did not report the change of

 employment to the probation office until October 19, 2014. Furthermore, Defendant abandoned his

 job at Nebraska Furniture Mart, The Colony, TX, in April 2015, and did not report the employment

 change. On May 1, 2015, the probation office was advised by Defendant’s wife, Shannon Griffin

 Clark, that Defendant moved from their residence the previous month. He failed to report the change

 of residence and his current residence is unknown; (5) Defendant failed to submit to drug testing as

 directed on July 1, 2014, April 28, May 1, 6, 8, 12, 15, 20, 26, and June 1, 2015; and (6) Defendant

 failed to attend mental health treatment at Pillar Counseling, Plano, TX, as directed. He was

 instructed to attend two sessions per month. He only attended one session in the month of

 September 2014. He failed to attend scheduled sessions on January 7, February 2, April 27, and

 April 29, 2015. Furthermore, he did not attend any sessions during the month of May 2015.

         At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation

 of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                       RECOMMENDATION

         Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

 presented at the November 12, 2015 hearing, the Court recommends that Defendant be committed

 to the custody of the Bureau of Prisons to be imprisoned for a term of twelve (12) months, with no

 supervised release to follow. The Court further recommends that the Defendant’s term of


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     imprisonment be carried out at the Bureau of Prisons Facility located in Seagoville, Texas, if

     appropriate.

             SIGNED this 25th day of November, 2015.

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                                                  ____________________________________
                                                  DON D. BUSH
                                                  UNITED STATES MAGISTRATE JUDGE




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